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     Attorney for Defendant
6    ANGELA SHAVLOVSKY
7
                               IN THE UNITED STATES DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                ) Case No. 2:11-CR-427 LKK
                                              )
11                Plaintiff,                  ) ORDER
                                              )
12   vs.                                      )
                                              )
13   ANGELA SHAVLOVSKY, et al.                )
                                              )
14                Defendants.                 )
                                              )
15                                            )
16          IT IS HEREBY ORDERED that the Request to Seal be granted and that the Affidavit of
17   Matthew M. Scoble be filed under seal, permitting Assistant United States Attorney Lee Bickley
18
     access to the document.
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     Dated: May 8, 2014
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                                                   -1-               U.S. v SHAVLOVSKY, 2:11-CR-427 LKK
